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                    IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHER DISTRICT OF TEXAS
                                FORT WORTH DIVISION
IN RE:
Dr. Shabnam Qasim, MD, PA


Debtor                                   §            Case No. 18----43099-MXM-
                                                      11
                                         §            (Chapter 11)
                                         §
                                         §
                                         §

_____________________________________________________________________________________
 ORDER GRANTING THE MOTION FOR PAYMENT OF COMPENSATION REQUEST FILED
                ON FEBRUARY 18, 2019 BY PATIENT CARE OMBUDSMAN
  ____________________________________________________________________________________


THIS MATTER CAME BEFORE THE COURT OF THE HONRABLE JUDGE MARK X.
MULLIN UPON THE MOTION TO HAVE THE DEBTOR, DR. SHABNAM QASIM, MD, PA
PAY COMPENSATION FOR THE SERVICES OF THE PATIENT CARE OMBUDSMAN FOR
SERVICES RENDERED FROM NOVEMBER 07, 2018 TO FEBRUARY 10, 2019.
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THE TOTAL AMOUNT OF CURRENT COMPENSATION DUE IS $ 2,028.53, WHICH CONSIST
OF EXPENSE $ 184.78 AND FEES OF $1,843.75


     THE COURT, BEING FULLY ADVISED DOES:
     ORDER ADJUDGE AND DECREE THAT THE MOTION BE, AND IT IS, GRANTED,
AND THAT DEBTOR IMMEDIATELY MAKE COMPENSATION TO THE PATIENT CARE
OMBUDSMAN.
                                   #####END OF ORDER#####



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